Case 1:20-cr-00008-MKB Document 105-37 Filed 02/13/23 Page 1 of 5 PageID #: 772
Case 1:20-cr-00008-MKB Document 105-37 Filed 02/13/23 Page 2 of 5 PageID #: 773
DOJ-000005929


MICHAEL PETERS: Well, the finally -- they -- oh, I got a feeling I'm going to end up getting
a hands-free ticket.

JANE DOE: Well --

MICHAEL PETERS: [INDISCERNIBLE] --

JANE DOE: What about the June 18th returner -- retraining of the 13,000 [PH] Es, because --

MICHAEL PETERS: Yeah, he was out of the country and I -- that was just a matter of --

JANE DOE: But it's crypto and blockchain. It doesn't matter where you are -- 24/7 --

MICHAEL PETERS: Well, it matters where he is, to me. It matters if I'm with him or not, to
get him to do something that he's not thrilled to do. So --

JANE DOE: Okay. So, if you send you a wallet address, you'll send me the 13,000 Es, like,
tomorrow? Can we say that?

[00:02:00]

MICHAEL PETERS: Send it to me and let me make that part of the win. Okay?

JANE DOE: Okay. And, then --

MICHAEL PETERS: All right.

JANE DOE: We're not going to go forward with the acquisition, so that's going to be, also,
another win?

MICHAEL PETERS: But let me get him to that point for you. Let me get him there. He's not
going to be there easily, and he's not going to be there right away.

JANE DOE: Okay.

MICHAEL PETERS: So, let me see -- let me get -- let me get him so that it's right for you
guys. Okay?

JANE DOE: Mike, if you can't see it --

MICHAEL PETERS: Yeah.

JANE DOE: -- right now, I have a very confused look on my face, because, like, you were here,
like, I don't even know what day it is anymore. Like, you were here in person and you said, like,
that this was no choice, and that you were going to make sure it happened and blah blah blah
blah blah.


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Case 1:20-cr-00008-MKB Document 105-37 Filed 02/13/23 Page 3 of 5 PageID #: 774
DOJ-000005929




MICHAEL PETERS: Well, you're -- I'm trying -- I don't -- I'm in a very awkward position.
Okay?

[00:03:00]

We'll leave it at that. So, all right.

JANE DOE: Is this what you want to talk privately about --

MICHAEL PETERS: Yes, yes.

JANE DOE: Like, not right now. Can we talk about it right now --

MICHAEL PETERS: There you go. No. [INDISCERNIBLE].

JANE DOE: So, you're not going to be with Alchemist anymore.

MICHAEL PETERS: There you go.

JANE DOE: Ah. Because you don't like it -- the Groundhog Day -- you're undoing Groundhog
Day?

MICHAEL PETERS: Yes.

JANE DOE: Steven has made you not happy?

MICHAEL PETERS: It's lots of factors, lots of things going on worldwide. Lots of things
going on. So, we're doing a re-evaluation and a pivot, so --

JANE DOE: Of Michael or of [PH] Alchemist?

[00:04:00]

MICHAEL PETERS: Me.

JANE DOE: Michael.

MICHAEL PETERS: Yeah.

JANE DOE: With Alchemist? Or Michael just Michael?

MICHAEL PETERS: Michael just Michael, so -- so let's -- let me -- let -- one battle at a time,
here. All right.




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Case 1:20-cr-00008-MKB Document 105-37 Filed 02/13/23 Page 4 of 5 PageID #: 775
DOJ-000005929


JANE DOE: But -- okay. So, then, Mike, remember I told you I didn't want to be in
conversations with Alchemist without you, and we also --

MICHAEL PETERS: Yeah.

JANE DOE: -- have you as the main communicator between me and Steven and Alchemist.
And, if you're no longer going to be there, even if you make something happen tomorrow, that
makes me very worried and anxious. I'm more anxious now. How are we going to make sure --

MICHAEL PETERS: Don't be anxious. Don't be anxious. Okay?

JANE DOE: Because Steven's going to honor whatever he says with you and me today?

MICHAEL PETERS: Don't be anxious. All right?

[00:05:00]

Let me call you from a different line -- what time do you get up in the morning?

JANE DOE: Usually, like, 6:00, 6:30, latest.

MICHAEL PETERS: So, like 9:00, like, 9:30 my time? All right. I'm going to call you from
a different line around 9:30. Okay? It'll be a 202 number. Okay?

JANE DOE: 202. Mike. 9:30.

MICHAEL PETERS: Yeah.

JANE DOE: Okay.

MICHAEL PETERS: It'll be a D.C. number. Okay?

JANE DOE: Okay. You okay?

MICHAEL PETERS: All right. Bye.

JANE DOE: Okay --

MICHAEL PETERS: Yeah, I'm -- yeah, yeah. All right?

JANE DOE: Okay.

MICHAEL PETERS: All right. All right. Bye-bye.

JANE DOE: Bye.



                                                                                               4
Case 1:20-cr-00008-MKB Document 105-37 Filed 02/13/23 Page 5 of 5 PageID #: 776
DOJ-000005929


ANDREW CROPSHIRE: It's 5:24 pm Pacific Time on Thursday, June 21st, 2018. SA
Cropshire and SA Ethan Vie. We are now ending the recording.

[00:05:50]




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